Case 2:04-cv-02596-SHI\/|-dkv Document 17 Filed 05/18/05 Page 1 of 2 Page|D 26

   
 
 

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IN THE UNITED sTATEs I)IsTRICT COURT
FoR THE WESTERN DISTRICT oF TENNESSE.’E% `a _;

 

BILLY ALLRED, DECEASED,
MARY MCCAIN AND JANICE SHUFFIELD,
AS PETITIONERS and ADMINTSTRATRICES,

Plaintiffs,
v. Docket NO.: 04-2596-Ma V
MID-SOUTH TISSUE BANK, INC.,
UNITED DONOR SERVICES, LLC.,
CATHY UNDERWOOD, TIMOTHY
BRAHM and KEVIN FOLEY, M.D.,

Defendants. Jury Demanded

 

ORDER ()N DEFENDANTS’
MOTION TO AMEND ANSWER

 

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On the ig day of May , 2005, came the motion of defendants Mid-South Tissue Bank, Inc.,

United Donor Services, LLC., Cathy Underwood, Timothy Brahm and Kevin Foley, M.D. to amend the
Answer to add more Specific affirmative defenses based on comparative fault under Tennessee law. The
Court finds that the defendants’ motion is timely and that it is not opposed by the plaintiffl

lT IS, THEREFORE, ORDERED, ADJUDGEI) AND DECREED, that the Defendants be

allowed to amend their answer to add affirmative defenses in the form attached to the Motion to Amend

the Answer. lem \.{ ZA/d/r

DIANE VESCOVO
UNITED STATES MAGISTRATE JUDGE

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DATE

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Honorable Samuel Mays
US DISTRICT COURT

